      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 1 of 27 Page ID #:1



            1   Bron E. D’Angelo, Esq., SBN 246819
                PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
            2   5901 W. Century Blvd., Suite 1100
                Los Angeles, CA 90045
            3   Telephone: (310) 649-5772
                Facsimile: (310) 649-5777
            4   E-mail: bdangelo@pettitkohn.com
            5   Attorneys for Defendant
                WALMART INC.
            6

            7                        UNITED STATES DISTRICT COURT
            8                      CENTRAL DISTRICT OF CALIFORNIA
            9

        10      MONICA JUAREZ CERON, an                   CASE NO.: 2:21-cv- 2168
                individual.,
        11
                                  Plaintiff,              NOTICE OF REMOVAL OF
        12                                                ACTION PURSUANT TO 28 U.S.C.
                v.                                        SECTIONS 1332 AND 1441(a) and
        13                                                (b)
                WALMART, INC., a Delaware
        14      corporation; DEAN DOE, an
                individual; and DOES 1 to 50,            Courtroom:
        15      inclusive,                               District Judge:
                                                         Magistrate Judge:
        16                       Defendants.             Complaint Filed: December 4, 2019
                                                         Trial Date:       Not Set
        17

        18            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
        19            PLEASE TAKE NOTICE that Defendant WALMART INC. (“Sam West”),
        20      by and through its counsel, hereby removes the above-entitled action filed by
        21      Plaintiff MONICA JUAREZ CERON(“Plaintiff”) in the Superior Court of the State
        22      of California, County of Los Angeles, Case No. 19STCV43563 to the United States
        23      District Court, Central District of California pursuant to 28 U.S.C. §1441, and
        24      respectfully alleges as follows:
        25      ///
        26      ///
        27      ///
        28      ///
2354-9372
                                                         1
                                                                 NOTICE OF REMOVAL OF ACTION
                                                                          CASE NO. 2:21-CV- 2168
      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 2 of 27 Page ID #:2



            1         1.       On December 4, 2019, an action was commenced in the Superior
            2   Court of the State of California, County of Los Angeles, entitled Monica Juarez
            3   Ceron v. Walmart Inc., et al., Case Number 19STCV43563 (“the State Action”). A
            4   copy of the complaint filed in the State Action is attached hereto as Exhibit “1.”
            5         2.       Walmart was served with a copy of the Complaint filed in the State
            6   Action and a Summons from the State Court on February 9, 2021. A copy of the
            7   Summons is attached hereto as Exhibit “2.”
            8         3.       On March 9, 2021, Walmart timely filed its Answer to Plaintiff’s
            9   Complaint, along with a Demand for Jury Trial in the State Action, attached hereto
        10      as Exhibits “3” and “4,” respectively.
        11            4.       Based on a review of the State Court file as of March 10, 2021, no
        12      other Defendant has been served with any Summons or Complaint in the State
        13      Action.
        14            5.       Plaintiff’s Complaint purports to assert causes of action based in
        15      premises liability and negligence. Plaintiff’s Complaint seeks to recover damages
        16      for lost wages, loss of earning capacity, hospital and medical expenses, past and
        17      future medical expenses, and past and future general damages.
        18                      DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332 (A)
        19            6.       This Court has jurisdiction over this matter under 28 U.S.C. section
        20      1332(a)(1), because there is complete diversity as the parties are citizens of
        21      different states, and the amount in controversy exceeds $75,000.00, exclusive of
        22      interest and costs. Removal is therefore proper pursuant to 28 U.S.C. sections 1441
        23      (a) and (b).
        24            a.       Plaintiff is a Citizen of California
        25             7.      Plaintiff is domiciled in and is presently a citizen of the State of
        26      California. Pursuant to the Complaint, Plaintiff contends that she is domiciled in
        27      the State of California, and a present citizen of California.
        28      ///
2354-9372
                                                            2
                                                                      NOTICE OF REMOVAL OF ACTION
                                                                               CASE NO. 2:21-CV- 2168
      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 3 of 27 Page ID #:3



            1         b.     Plaintiff Claims Damages in Excess of $75,000
            2         8.     Plaintiff claims approximately $2,000,000 in damages. Attached
            3   hereto as Exhibit “5” is Plaintiff’s Statement of Damages. As result of the incident,
            4   Plaintiff suffered past damages of $1,000,000 and future damages of $1,000,000.
            5   Plaintiff further claims past medical expenses, future medical expenses, incidental
            6   damages, lost earnings, future lost earnings, and other damages to be proven at the
            7   time of trial. Accordingly, the amount in controversy, exclusive of costs and
            8   interests, certainly exceeds the minimum requirement required for diversity
            9   jurisdiction under 28 U.S.C. section 1332(a).
        10            c.     Walmart is a Citizen of Delaware
        11            9.     Walmart is a citizen of Delaware where it is incorporated, and of
        12      Arkansas, where it holds its principal place of business (in Bentonville, Arkansas).
        13      Copies of Walmart’s corporate information from the California Secretary of State
        14      Business Search and the Arkansas Secretary of Business/Commercial Services are
        15      attached hereto as Exhibits “6” and “7,” respectively.
        16            10.    Because the State Action is pending in the Superior Court of California
        17      in and for the County of Los Angeles, removal of this action to this District Court is
        18      proper under 28 U.S.C. section 1441(a).
        19            11.    Removal is timely under 28 U.S.C. section 1446(b) because this
        20      Notice of Removal is filed within 30 days of Walmart being served with the
        21      complaint that indicated Plaintiff is a citizen of the State of California and that the
        22      total amount in controversy exceeds the jurisdictional requirements of $75,000,
        23      exclusive of costs and interests.
        24            12.    Written notice of the filing of this Notice of Removal will be promptly
        25      served on Plaintiff. A true and correct copy of this Notice of Removal and the
        26      concurrently filed Notice of Interested Parties and Civil Cover Sheet will be filed
        27      with the Clerk of the Superior Court of the State of California in and for the County
        28      of Los Angeles as soon as practicable.
2354-9372
                                                           3
                                                                    NOTICE OF REMOVAL OF ACTION
                                                                             CASE NO. 2:21-CV- 2168
      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 4 of 27 Page ID #:4



            1         WHEREFORE, Walmart requests that the above-entitled action be removed
            2   from the Superior Court of the State of California, County of Los Angeles to the
            3   United States District Court.
            4

            5                             PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
            6

            7   Dated: March 10, 2021 By:       s/ Bron E. D’Angelo
                                                Bron E. D’Angelo, Esq.
            8                                   Attorneys for Defendant
                                                WALMART INC.
            9                                   bdangelo@pettitkohn.com
        10

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2354-9372
                                                        4
                                                                 NOTICE OF REMOVAL OF ACTION
                                                                          CASE NO. 2:21-CV- 2168
      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 5 of 27 Page ID #:5



            1                               CERTIFICATE OF SERVICE
            2         I hereby certify that a copy of the following document:
            3   NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C.
                SECTIONS 1332 AND 1441(a) and (b);
            4
                NOTICE OF LODGMENT OF STATE COURT FILE;
            5
                DECLARATION OF BRON E. D’ANGELO, ESQ. IN SUPPORT OF
            6   DEFENDANT WALMART INC.’S NOTICE OF REMOVAL OF ACTION
                PURSUANT TO 28 U.S.C. §§ 1332 AND 1441(b) [DIVERSITY];
            7
                CIVIL CASE COVERSHEET;
            8
                NOTICE OF INTERESTED PARTIES.
            9

        10      was on this date served upon counsel of record via:
        11            [ x]   Placing a copy of the same in the United States Mail, postage prepaid,
                             and sent to their last known address listed below;
        12
                      [X]    Electronically filing the following documents with the Clerk of the
        13                   Court using the CM/ECF system. The CM/ECF system will send
                             notification of these filings to the persons listed below:
        14
                Daniel Azizi, Esq.
        15      DOWNTOWN LA LAW GROUP
                601 N. Vermont Ave.
        16      Los Angeles, CA 90004
                Tel: (213) 389-3765
        17      Fax: ( 877) 389-2775
                Email: Daniel@downtownlalaw.com
        18      Attorney for Plaintiff
                MONICA JUAREZ CERON
        19

        20            Executed on March 10, 2021, at San Diego, California.
        21

        22
                                                      Natalia Aguilera
        23

        24

        25

        26

        27

        28
2354-9372
                                                         5
                                                                 NOTICE OF REMOVAL OF ACTION
                                                                          CASE NO. 2:21-CV- 2168
                      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 6 of 27 Page ID #:6
           • ....••• 44•1 44•44,4i,.
                                   4 444.4             4...44,.4 4-4.4..
                                                                       •      44.• •••••••••   •    •••••.•4.4•• • .4.4.4.4 ..••••••••••••
                                                                                                                                       .   4.•4.44.4•44.4.. 44•4         4. • •••• 4.4.4 •.—.—.---, -r-.,
                                                                                               19STCV43563
                                             Assigned for all purposes to: Spring Street Courthouse, Judicial Officer Kristin Escalante
                                                                                                                                                                                         PLD-P1-001
           ATTORNEY OR PARTY WITHOUT AIR:RIMY(AV                           numbe4 endsales* . •                                                                    FOR couar USE ONLY
' Daniel Azle',Esq.                              SBN: 268995
  DOWNTOWN LA LAW C
  601 N.Vermont Ave.
   Los Angeles,CA 90004
         MERNONE NO:(213)389-3765              FAX NO.(0062/$80:(877)389-2775
E•MAIL ADDRESS malnes:Daniel@downtownlalaw.com
   ATTORNEY FOR atansetMonica Juarez Ceron

SUPERIOR COURT OF CALIFORNIA,COUNTY OPLOS ANGELES'
        MEET ADOREBB:312 North Spring Street
       MUM ADDRESS:312 North Spring Street
      CITY AND SP CODE:LOS Angeles,CA 90012
          BRANCH NAME:Spring Street Courthouse
           PLAINTIFF: MONICA JUAREZ CERON,an individual.

                    DEFENDANT: WALMART,INC.,a Delaware corporation; DEAN DOE,an
          individual; and DOES 1 TO 50,inclusive.
                   DOES 1 TO
            COMPLAINT—Personal Injury, Property Damage,Wrongful Death
                 1=3 AMENDED(Number):
            Type(check all that apply):
            E=I MOTOR VEHICLE           MI OIHER (speci4):Genera1 Negligence
                 ED Property Damage C=I Wrongful Death
                  E= Personal injury         E3 Other Damages(sPecff*Premises Liability
            Jurisdiction (check all that apply):                                                                                                   CASE NUMBEit
           =I ACTION IS A LIMITED CIVIL CASE
                   Amount demanded ED does not exceed $10,000
                                              exceeds $10,000,but does notexceed $26,000                                                             1 9ST CV 43563
            rl ACTION IS AN UNLIMITED CIVIL CASE(exceeds $25,000)
            E21 ACTION IS RECLASSIFIED by this amended complaint
                 =I from limited to unlimited
                   ED from unlimited to limited
           1. Plaintiff(name or names):MONICA JUAREZ CERON,an individual.
              alleges causes of action against defendant(name or names): WALMART,INC.,a Delaware corporation;DEAN DOE,an
              individual; and DOES 1 TO 50,inclusive.
           2. This pleading,Including attachments and exhibits,consists of the following number of pages:
           3. Each plaintiff named above Is a competent adult
              a. E3 except plaintiff(name):
                       (I) ED a corporation qualified to do business in California
                       (2) ED an unincorporated entity (describe):
                       (3) ED a public entity (describe):
                       (4)ED a minor =I an adult
                                 (a) ED for whom a guardian or conservator ofthe estate or a guardian ad Rem has been appointed
                                 (b)        other(specify):
                       (5) E3 other(specify):
               b. EJ except plaintiff(name):
                       (1) EZ:1 a corporation qualified to do business in California
                       (2) ED an unincorporated entity (describe):
                       (3) ED a public entity(describe):
                       (4) U a minor EJ an adult
                                 (a) 1:= for whom a guardian or conservator of the estate or a guardian ad item has been appointed
                                 (b) 1:= other(specify):
                        (5) ED other(specify):

                  CZ]Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
             Form AppmdcrO        aflJne                                                                                                                                      CabOM Pri10141134§426.12
               Mlle)Councl ofCoMbrnia                                      COMPLAINT—Personal Injury, Property                                                                        sewimustaftuarpr
            PLO411401(Rev.January 1,20071 .                                     Damage,Wrongful Death                                                                           Window Doc& Rim Sutteler•

                                                                                                                                                                               EXHIBIT 1
                                                                                                                                                                                       6
        Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 7 of 27 Page ID #:7
                  •1.




                                                                                                                             PI.D.P1.001
 SHORT TITLE: MONICA JUAREZ CERON vs. WALMART,INC.,et. al.                                       CASE NUMBER




4. ED Plaintiff(name):
      Is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
   a. Ejexcept defendant(name):WALMART,INC.                            c. Ejexcept defendant(name):
          (1) ED a business organization,form unknown                          (1) C= a business organization,form unknown
          (2)=a corporation                                                    (2)1= a corporation
          (3) 1".= an unincorporated entity (describe):                        (3)=an unincorporated entity (describe):

              (4)=a public entity(describe):                                   (4) =I a public entity(descnbe):

              (5) ED other(specify):                                           (5) cjother (specify):



     b. E:jexcept defendant(name):                                      d.=except defendant(name):
           (1) ED a business organization,form unknown                     (1) ED a business organization,form unknown
           (2) 1-7a corporation                                            (2) =I a corporation
          (3) =I an unincorporated entity (describe):                      (3) ED an unincorporated entity (describe):

              (4)          a public entity(describe):                             [
                                                                                (4) —I a public entity(describe):

               (5) ED other(specify):                                           (5) ED other(epee*


      =Information about additional defendants who are not natural persons is contained in Attachment5.
6.      The true names of defendants sued as Does are unknown to plaintiff.
        a. E3 Doe defendants (specify Doe numbers):26-50                              were the agents or employees of other
                 named defendants and acted within the scope of that agency or employment.
        b.   E= Doe defendants(specify Doe numbers):1-25                        are persons whose capadties are unknown to
          plaintiff.
 7. Ej Defendants who are joined under Code of Civil Procedure section 382 are(names):



 8.     This court is the proper eclat because
        a. El at!east one defendant now resides in its jurisdictional area.
        b. [=3 the principal place of business of a defendant corporation or unincorporated association Is in its jurisdictional area.
        o. E:1 injury to person or damage to personal property occurred in its jurisdictional area.
        d. 1:=3 other(specify):




 9. E3 Plaintiff is required to comply with a claims statute,and
    a. Ejhas complied with applicable claims statutes, or
    b. ED Is excused from complying because(specify):




 PLI)43W01(Rev.January 1.2007J                    COMPLAINT—Personal Injury,Property                                                Papa03
                                                       Damage,Wrongful Death

                                                                                                                      EXHIBIT 1
                                                                                                                              7
       Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 8 of 27 Page ID #:8


                                                                                                                             PLD-P1401
SHORT TM.E: MONICA JUAREZ CERON vs. WALMART,INC.,et. al.                                       CASE NUMBER




10. The following causes of action are attached and the statements above apply to each (each complaint must have one or mom
    causes ofaction attached):
    a. ED Motor Vehicle
    b. EjGeneral Negligence
    c. E- jIntentional Tort
    d. ED Products Uability
    e. ED Premises Uability
    f. [:= Other(specify):




11. Plaintiff has suffered
    a. ED wage loss
    b, F-1 loss of use of property
    c. ED hospitalland medical expenses
    d.         general damage
    e.[X]property damage
    f. ED loss of earning capacity
     g. ED other damage (specify):




12. l=2 The damages daimed for wrongful death and the relationships of plaintiff to the deceased are
    a. 1= listed in Attachment 12.
    b. EL-
         j as follows:




 13. The relief sought In this complaint is within the jurisdiction of this court



 14. Plaintiff prays forjudgment for costs of suit:for such relief as is fair, Just, and equitable; and for
     a. (1) ED compensatory damages
        (2) El punitive damages
         The amount of damages is (in cases for personalInjury or wrongful death, you must check (1)):
        (1) -1 7according to proof
        (2)7     -1 in the amount of:$
 15.   ED The paragraphs of this complaint alleged on Information and belief are as follows(s          paragraph numbers):




 Date:12/3/19

Daniel Azizi, Esq.
                             (TYPE OR PRINT NAME)                                         (SIGNATURE OF PLAINTIFF OR ATTORNEY)

 FILOPI•001(Rev.January 1.20071                     COMPLAINT—Personal Injury, Property                                           Page3at
                                                         Damage,Wrongful Death
                                                                                                                      EXHIBIT 1
                                                                                                                              8
      Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 9 of 27 Page ID #:9


                                                                                                                           PLD-P1-001(2)
SHORT TITLE: MONICA JUAREZ CERON vs. WALMART,INC.,et. al.                                      CASE NUMBER:




                       FIRST                   CAUSE OF ACTION General Negligence                                     Page 4
                      (number)
        ATTACHMENT TO                OD     Complaint ED Cross - Complaint
      (Use a separate cause ofaction form for each cause ofaction.)

        GN-1. Plaintiff(name):MONICA JUAREZ CERON,an individual.

                  alleges that defendant(name): WALMART,INC.,a Delaware corporation; DEAN DOE,an individual; and
                  DOES 1 TO 50,inclusive.


                                     Does                  to

                  was the legal(proximate)cause of damages to plaintiff. By the following acts or omissions to act, defendant
                  negligently caused the damage to plaintiff
                  on (date):or about December 21,2017
                  at(place):or near 8500 Washington Blvd.,Pico Rivera,CA 90660

                 (descrlptlon of reasons for liability):

                  On or about December 21,2017 Plaintiffwas lawfully on the premises ofDefendants WALMART,INC.,a Delaware
                  corporation; DEAN DOE,an individual; and DOES 1 TO 50,inclusive,located at or near 8500 Washington Blvd.,Pico
                  Rivera, CA 90660.Plaintiff was walking within the premises when she stepped on water and/or similar substance on the
                  floor causing her to slip, thereby causing Plaintiffto endure severe injury and pain.

                   At all times herein mentioned,defendants,and each ofthan, had sole and exclusive custody and control ofthe aforesaid
                   building and activities occurring at said building,and owed a duty to this Plaintiffand others lawfully on said premises to
                   keep said premises in a good and safe condition; contrary thereto, Defendants, and each ofthem, were negligent,careless
                   and reckless in the ownership, care, control, maintenance,operation,leasing, management,caretaking,repairing,ofsaid
                   premises,in that they caused and permitted said premises to be and remain in a dangerous and unsafe condition in that
                   Defendants, and each ofthem,caused or permitted structures and/or components and/or other parts ofsaid building to be
                   and remain, wet,and otherwise deficient In addition, Defendants, and each ofthem were negligent,careless and reckless
                   in that they failed to properly warn ofthe dangerous condition, and in that they failed to properly protect the area ofsaid
                   dangerous condition.

                   Said Defendants,and each ofthem,fully and well knew,or should have known in the exercise ofreasonable care,that
                   the wet floor in said establishment were in a dangerous and defective and unsafe condition, and a menace to Plaintiffand
                   others lawfully on said premises.

                   By reason ofthe aforesaid negligence, carelessness and recklessness ofDefendants, and each ofthem,as aforesaid,and
                   as a direct and proximate result thereof, dangerously wet floor that was not properly installed, maintained,cleaned and/or
                   protected at said property causing Plaintiffto sustain the injuries and damages as hereinafter alleged.




  Form Approved koOpland Use .                                                                                         Code al Ova Procaturs 425.12
    Jud 11100=0 cd California    •             CAUSE OF ACTION—General Negligence                                               vrow.rxothilice.gmr
P11144401(2)(Rev.January 1,20071                                                                                        %sew Dix&Farm 8110iter


                                                                                                                      EXHIBIT 1
                                                                                                                              9
    Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 10 of 27 Page ID #:10


                                                                                                                                       PLD-PI-001(4)
SHORT TITLE: MONICA JUAREZ CERON vs. WALMART,INC.,et al.                                              CASE FILMIER:




                SECOND               CAUSE OF ACTION premises Liability                                                       Page 5
                (number)
       ATTACHMENT TO E3 Complaint                ED Cross - Complaint
      (Use a separate cause ofaction form for each cause of action.)
        Prem.L-1. Plaintiff(name):MONICA JUAREZ CERON,an individual.
                    alleges the acts of defendants were the legal(proximate)cause of damages to plaintiff.
                    On (date):or about December 21,2017               plaintiff was injured on the following premises In the following
                         fashion (description of premises and circumstances ofInjury): On or about December 21,2017 Plaintiff was
                          lawfully on the premises ofDefendants WALMART,INC.,a Delaware corporation; DEAN DOE,an
                          individual; and DOES 1 TO 50,inclusive, located at or near 8500 Washington Blvd.,Pico Rivera,CA 90660.
                          Plaintiff was walking within the premises when she stepped on water and/or similar substance on the floor
                          causing her to slip, thereby causing Plaintiff to endure severe injmy and pain.



        Prem.L-2.           C=I Count One—Negligence The defendants who negligently owned,maintained, managed and
                                operated the described premises were (names):WALMART,INC.,a Delaware corporation; DEAN.
                                DOE,an individual; and DOES 1 TO 50,inclusive.

                                      I=1 Does                       to
         Prem.L-3.            ED Count Two—Willful Failure to Warn (Civil Code section 846]The defendantown= who willfully
                                 or maliciously failed to guard or warn against a dangerous condition, use,structure, or activity were
                                (names):



                                      :1 73   Does                   to
                                 Plaintiff, a recreational user, was =1 an invited guest E:1 a paying guest
         Prem.L-4.            ED Count Three—Dangerous Condition of Public Property The defendants who owned public property
                                 on which a dangerous condition existed were (names):



                                               1::=]Does                    to
                         a ED The defendant public entity had C3 actual E=I constructive notice of the existence of the
                                  dangerous condition Insufficient time prior to the Injury to have corrected it.
                         b.ED The condition was created by employees of the defendant public entity.
         Prem.L-5. a. CD Allegations about Other Defendants The defendants who were the agents and employees of the
                         other defendants and acted within the scope of the agency were(names):


                                      CM Does                         to
                         b.           The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                      ED described In attachment Prem.L-5.b                as follows(names):



                                                                                                                                                    Pada I of I
  Farm Addscruad iot Cipilorial Use                  CAUSE OF ACTION-'-Premises Liability                                      Cade al Clvil PoIxedura 14253a
    Judicial Cousca of Callicunia                                                                                                          wawicuirtadacagor
PUIP1431(4)May.Joiner/ 1.20071                                                                                                 ' Meadow Dacia FearsBuilder

                                                                                                                                 EXHIBIT 1
                                                                                                                                        10
                 Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 11 of 27 Page ID #:11
ctronlcally                      r Court of California, County of Los Angeles on 12/04120ARMajeri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hemandez,Deputy Clerk

                                                                                                                                                                   SUM-100
                                                         SUMMONS                                                                          Fon coueruseonv
                                                                                                                                     (SOLOPARA USD DMA CORM
                                                  (CITACION JUDICIAL)
       NOTICE TO DEFENDANT: WALMART,INC.,a Delaware corporation; DEAN
       (AVIS° AL DEMANDADO):DOE,an individual; and DOES 1 TO 50,inclusive.




       YOU ARE BEING SUED BY PLAINTIFF:MONICA JUAREZ CERON,an
       (1.0 ESTA DEMANDANDO EL,DEMANDANTE):individual.




              NOTICE!You have been sued.The court may decide against you without your being heard unless you respond within 30 days. Read the Information
              below.
                  You have 30 CALENDAR DAYS after this summons and legal papers are crewed on you to ills a written response at this court and have a copy
              served on the plaintiff. A letter or phone call will not protect you.Your written response must be in proper legal form If you want the court to hear your
              case.There may be a court fonn that you can use for your response.You can ffnd these court fonns and mom information at the California Courts
              Online Self-Help Center(v.ww.courtinfo.ce.goviselihelp), your county law library,orthe courthouse nearest you.If you cannot pay the Sing fee, ask
              the court clerk for a fee waiver form. If you do not Me your response on time, you may lose the case by default,and your wages, money,and property
               may be taken without further warning from the court.
                   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may wantto call an attorney
               referral service. If you cannot afford an attorney,you may be eligible for free legal servicesfrom a nonprofit legal services program.You can locate
              these nonprofit groups at the California Legal Services Web site(www.lawhelpealifomie.org),the California Courts Online Self-tletp Center
              (www.courtinfo.cagovlsellhelp), or by contacting your local court or county bar association. NOTE:The court hose statutory Can for waived fees and
               coats on any settlement or arbitration award of$10,000 or more In a civil case.The court's lien must be paid before the court WU dismissthe case.
              IAVISotLo hen demendado. Sine responde denim de 30 dies,le code puede deddir en su confre sin escuchersu versidn. Lea to Informacton
              contfnuaden.
                  Ilene 30DIASDE CALENDARIO despues de qua le entreguen este deaden y pupateslegates pare presenter une respueste poreserito on este
               code y haver qua se entregue una sepia al demandente. Una carte o una llamado telefenice no le protegen.Su respuesta per esaito Gene qua ester
               on formate legal comets sl doses quo',meson so case en Is code.Esposible qua hays un formula*,qua usted puede user pare su respuesta.
              Puede eneontrar estosformuledos de is code mdsInformed& one!Centro de Ayuda de las Castes de California (Www.sucorte.ca.gov), en le
               bibliotece de byes de su condado o en la code qua le quede mds came. SI no puede pagerle cuote de presentaddn, pide al seaeterlo dole code
               qua le de un formulario de °sondem de page de motes. SI no present& su respired° a hempo,puede perderel case porinctimplimiento yla code to
               padre guitar SU straido, cffnero y blames sin mas advertencla.
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           The name and address of the court Is:                                                       CASE SUMMER
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           (El norribre y direcan dole code es):
           Superior Court ofCalifornia, County of Los Angeles                                                     9ST CV 43563
           312 North Spring Street
           Los Angeles, California 90012
           The name,address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:Daniel Azizi,Esq.
           (El nombre,Is dIracch5n ye!namero de telefono del abogado del demendente, o del demandente quo no*no abogado, es):
           DOWNTOWN LA LAW GROUP
           601 N. Vermont Ave.,Los Angeles,CA 90004                                                                        (213)389-3765
            DATE:                                                             Clerk, by Sherri R. Carter Executive Officer! Clerk of Court' Deputy
           (Fechi)1 210412019                                                                                   nores-Hernandpz (AdJunto)
                                                                             (Secrefetio) I-loather
           (For proofofservice ofthis summons, use Proof of Service of Summons(form P05-010).)
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                                           NOTICE TO THE PERSON SERVED:You are served
                                          1. C]as an Individual defendant
                                          2. CD as the person sued under the fictitious name of(specif)):

                                                                                                                                         coda(          (-61PQYA.
                                                       3.         on behalf of(specify).           S     o(‘711t- a
                                                            under 12:1 CCP 416.10(corporation)               =1 CCP 416.60(minor)
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         Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 12 of 27 Page ID #:12

Electronically FILED by Superior Court of California, County of Los Angeles on 03/09/2021 06:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk


               1         Bron E. D’Angelo, Esq., SBN 246819
                         PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
               2         5901 W. Century Blvd., Suite 1100
                         Los Angeles, CA 90045
               3         Telephone: (310) 649-5772
                         Facsimile: (310) 649-5777
               4         E-mail: bdangelo@pettitkohn.com

               5         Attorneys for Defendant
                         WALMART INC.
               6

               7

               8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9                                                FOR THE COUNTY OF LOS ANGELES
              10

              11         MONICA JUAREZ CERON, an individual.,                                      CASE NO.: 19STCV43563
              12                                           Plaintiff,
                                                                                                   DEFENDANT WALMART INC.’S
              13                    v.                                                             ANSWER TO PLAINTIFF’S ORIGINAL
                                                                                                   COMPLAINT
              14         WALMART, INC., a Delaware corporation;
                         DEAN DOE, an individual; and DOES 1 to                                    Dept.:     2
              15         50, inclusive,                                                            Judge:     Hon. Kristin S. Escalante
                                                                                                   Filed:     December 4, 2019
              16                                           Defendants.                             Trial:     June 2, 2021
              17

              18                     COMES NOW WALMART INC. (“Defendant”) for its Answer to Plaintiff, MONICA

              19         JUAREZ CERON’s (“Plaintiff”) Original Complaint (“Complaint”) on file herein, admits,

              20         denied, and alleged as follows:

              21                                                          AFFIRMATIVE DEFENSES

              22                                                    FIRST AFFIRMATIVE DEFENSE

              23                                                      (Failure to State a Cause of Action)

              24                     The COMPLAINT, and each and every cause of action alleged therein fails to state facts

              25         sufficient to constitute a cause of action for which relief may be granted.

              26          ///

              27          ///

              28          ///
    2354-9372
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                                     DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 13 of 27 Page ID #:13



        1                             SECOND AFFIRMATIVE DEFENSE

        2                                         (Acts of Other Parties)

        3          Defendant alleges that, if Defendant is subjected to any liability by Plaintiff, it will be

        4   due in whole or in part to the acts and/or omissions of other parties, or parties unknown at this

        5   time, and any recovery obtained by Plaintiff should be barred or reduced according to law, up

        6   to and including the whole thereof.

        7                              THIRD AFFIRMATIVE DEFENSE

        8                                         (Assumption of Risk)

        9          The COMPLAINT, and each and every cause of action alleged therein, is barred in that

       10   Plaintiff, with full knowledge of all risks attendant thereto, voluntarily and knowingly assumed

       11   any and all risks attendant upon Plaintiff’s conduct, including any purported damages alleged to

       12   be related thereto and proximately caused thereby.

       13                             FOURTH AFFIRMATIVE DEFENSE

       14                                     (Comparative Negligence)

       15          Defendant alleges that Plaintiff was negligent, and otherwise at fault, with regard to the

       16   events alleged in the COMPLAINT, and such negligence and fault is the proximate cause of any

       17   liabilities or damages Plaintiff may incur. Accordingly, Plaintiff’s recovery, if any, should be

       18   precluded or reduced in proportion to their negligence and fault.

       19                               FIFTH AFFIRMATIVE DEFENSE

       20                                               (Estoppel)

       21          The COMPLAINT, and each and every cause of action alleged therein, is barred by the

       22   doctrine of estoppel.

       23                               SIXTH AFFIRMATIVE DEFENSE

       24                                   (Exercise of Reasonable Care)

       25          Defendant exercised reasonable care and did not know, and in the exercise of reasonable

       26   care could not have known, of the alleged acts or allegations in connection with the conditions

       27   which are the subject of the COMPLAINT.

       28   ///
2354-9372
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                   DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 14 of 27 Page ID #:14



        1                             SEVENTH AFFIRMATIVE DEFENSE

        2                         (Failure of Others to Exercise Reasonable Care)

        3          If Defendant is subjected to any liability herein, it will be due in whole, or in part, to the

        4   acts and/or omissions of other defendants or other parties unknown at this time, and any recovery

        5   obtained by Plaintiff should be barred or reduced according to law, up to and including the whole

        6   thereof.

        7                              EIGHTH AFFIRMATIVE DEFENSE

        8                                (Failure to Exercise Ordinary Care)

        9          The COMPLAINT, and each and every cause of action alleged therein, is barred in that

       10   Plaintiff failed to exercise ordinary and reasonable care on Plaintiff’s own behalf and such

       11   negligence and carelessness was a proximate cause of some portion, up to and including the

       12   whole of, Plaintiff’s own alleged injuries and damages, if any, and Plaintiff’s recovery therefore

       13   should be barred or reduced according to law, up to and including the whole thereof.

       14                               NINTH AFFIRMATIVE DEFENSE

       15                                   (Failure to Mitigate Damages)

       16          Plaintiff failed to take reasonable steps and make reasonable expenditures to reduce

       17   Plaintiff’s claims, damages, losses, if any, and that said failure to mitigate Plaintiff’s damages

       18   bars or reduces any claims, losses, or damages.

       19                               TENTH AFFIRMATIVE DEFENSE

       20                                    (Intervening Acts of Others)

       21          The COMPLAINT, and each and every cause of action alleged therein, is barred because

       22   the injuries and damages sustained by Plaintiff, if any, were proximately caused by the

       23   intervening and superseding actions of others, which intervening and superseding actions bar

       24   and/or diminish Plaintiff’s recovery, if any, against Defendant.

       25                            ELEVENTH AFFIRMATIVE DEFENSE

       26                                                (Laches)

       27          The COMPLAINT, and each and every cause of action alleged therein, is barred by the

       28   doctrine of laches.
2354-9372
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                   DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
                                                                                             EXHIBIT 3
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 15 of 27 Page ID #:15



        1                             TWELFTH AFFIRMATIVE DEFENSE

        2                                            (Lack of Notice)

        3           Defendant alleges that it did not have either actual or constructive notice of the

        4   conditions, if any, which existed at the time and places mentioned in the COMPLAINT, which

        5   conditions may have caused or contributed to the damages as alleged herein. Said lack of notice

        6   prevented Defendant from undertaking any measures to protect against or warn of said

        7   conditions.

        8                           THIRTEENTH AFFIRMATIVE DEFENSE

        9                                         (Lack of Particularity)

       10           The COMPLAINT, and each and every cause of action alleged therein, is barred in that

       11   Plaintiff failed to particularize the claims in the COMPLAINT, thereby depriving Defendant the

       12   ability to ascertain the true bases of Plaintiff’s claim, if any, and the law applicable to the claim.

       13                           FOURTEENTH AFFIRMATIVE DEFENSE

       14                         (No Constructive Notice of Dangerous Condition)

       15           The COMPLAINT, and each and every cause of action alleged therein, is barred by the

       16   fact that Defendant did not have constructive notice of the allegedly unsafe conditions on the

       17   premises.

       18                             FIFTEENTH AFFIRMATIVE DEFENSE

       19                                           (Obvious Danger)

       20           Defendant alleges that Plaintiff failed to exercise reasonable and ordinary care, caution,

       21   or prudence for Plaintiff’s own safety in order to avoid the alleged accident. The resulting

       22   injuries and damages, if any, sustained by Plaintiff were proximately caused and contributed to

       23   by the negligence of Plaintiff, in that any possible danger with regard to the accident in question

       24   was obvious to anyone using reasonable care.

       25                            SIXTEENTH AFFIRMATIVE DEFENSE

       26                                           (Reimbursement)

       27           Defendant alleges that any reimbursement, from whatever source, to Plaintiff of the

       28   damages alleged must be applied against any liability of Defendant.
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                   DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 16 of 27 Page ID #:16



        1                          SEVENTEENTH AFFIRMATIVE DEFENSE

        2                                 (Res Judicata/Collateral Estoppel)

        3          The COMPLAINT, and each and every cause of action alleged therein, is barred by the

        4   doctrines of res judicata and/or collateral estoppel.

        5                           EIGHTEENTH AFFIRMATIVE DEFENSE

        6                          (Several Liability for Non-Economic Damages)

        7          If Defendant has any liability to Plaintiff in this action, which is denied, it is only

        8   severally liable for Plaintiff’s non-economic damages under California Civil Code sections

        9   1431.1 and 1431.2, and therefore request a judicial determination of the percentage of its

       10   negligence, if any, which proximately contributed to the subject incident.

       11                           NINETEENTH AFFIRMATIVE DEFENSE

       12                                       (Statute of Limitations)

       13          The COMPLAINT, and each and every cause of action alleged therein, is barred by all

       14   applicable statutes of limitation, including but not limited to, Code of Civil Procedure sections

       15   335.1, 337 and 343.

       16                           TWENTIETH AFFIRMATIVE DEFENSE

       17                                             (Uncertainty)

       18          Defendant alleges that the causes of action in the COMPLAINT, and each of them, are

       19   uncertain and ambiguous as to Plaintiff’s claim for damages against Defendant.

       20                         TWENTY-FIRST AFFIRMATIVE DEFENSE

       21                                               (Waiver)

       22          The COMPLAINT, and each and every cause of action alleged therein, is barred by

       23   Plaintiff’s waiver.

       24                         TWENTY-SECOND AFFIRMATIVE DEFENSE

       25                                        (Additional Defenses)

       26          Defendant may have additional defenses that cannot be articulated due to Plaintiff’s

       27   failure to particularize Plaintiff’s claims, due to the fact that Defendant does not have copies of

       28   certain documents bearing on Plaintiff’s claims and due to Plaintiff’s failure to provide more
2354-9372
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                   DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
                                                                                            EXHIBIT 3
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 17 of 27 Page ID #:17



        1    specific information concerning the nature of the damage claims and claims for certain costs

        2    which Plaintiff alleges that Defendant may share some responsibility. Defendant therefore

        3    reserves the right to assert additional defenses upon further particularization of Plaintiff’s claims,

        4    upon examination of the documents provided, upon discovery of further information concerning

        5    the alleged damage claims and claims for costs, and upon the development of other pertinent

        6    information.

        7            WHEREFORE, Defendant prays for judgment as follows:

        8          1.       That Plaintiff takes nothing by way of the Complaint;

        9          2.       That Defendant be awarded costs of suit incurred herein; and

       10          3.       For any and all relief as the Court deems just and proper according to the laws of

       11                   California.

       12

       13                                                  PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
       14

       15   Dated: _March 9, 2021                          By:       ____________________________________
                                                                     Bron E. D’Angelo, Esq.
       16                                                            Attorneys for Defendant
                                                                     WALMART INC.
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2354-9372
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                    DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
                                                                                               EXHIBIT 3
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 18 of 27 Page ID #:18



        1                                      PROOF OF SERVICE
                                        Monica Juarez Ceron v. Walmart Inc.
        2                        Los Angeles Superior Court Case No. 19STCV43563

        3          I, the undersigned, declare that:

        4          I am and was at the time of service of the papers herein, over the age of eighteen (18)
            years and am not a party to the action. I am employed in the County of San Diego, California,
        5   and my business address is 11622 El Camino Real, Suite 300, San Diego, California 92130.

        6          On March 9, 2021, I caused to be served the following documents:

        7          DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL
                   COMPLAINT
        8
            [ ]    BY FACSIMILE TRANSMISSION (Code Civ. Proc. §§ 1013(e)-(f)): From fax
        9          number (858) 755-8504 to the fax numbers listed below. The facsimile machine I used
                   complied with Cal. Rules of Court, rule 2.306 and no error was reported by the machine.
       10          I caused the machine to print a transmission record, a copy of which will be maintained
                   with the document(s) in our office.
       11
            [X]    BY MAIL: By placing a copy thereof for delivery in a separate envelope addressed to
       12          each addressee, respectively, as follows:

       13          [X]    BY FIRST-CLASS MAIL (Code Civ. Proc. §§ 1013(a)-(b))
                   [ ]    BY OVERNIGHT DELIVERY (Code Civ. Proc. §§ 1013(c)-(d))
       14          [ ]    BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED (Code Civ.
                          Proc. §§ 1013(a)-(b))
       15
            [x ]   BY ELECTRONIC DELIVERY (Code Civ. Proc. § 1010.6 and Cal. Rules of Court,
       16          rule 2.251): Based on Cal. Rules of Court Emergency Rule 12 (Covid), I caused such
                   document(s) to be electronically served to those parties listed below from e-mail address
       17          naguilera@pettitkohn.com. The file transmission was reported as complete and a copy of
                   the Service Receipt will be maintained with the original document(s) in our office.
       18
            [ ]    BY ELECTRONIC SERVICE (California Rule of Court 2.251): By submitting an
       19          electronic version of the document(s) via file transfer protocol (FTP) to OneLegal Online
                   Court Services through the upload feature at www.onelegal.com.
       20
            [ ]    BY PERSONAL SERVICE: I caused the above-described document to be personally
       21          served on the parties listed on the service list below at their designated business addresses
                   pursuant to Code Civ. Proc. §1011.
       22
            Daniel Azizi, Esq.
       23   DOWNTOWN LA LAW GROUP
            601 N. Vermont Ave.
       24   Los Angeles, CA 90004
            Tel: (213) 389-3765
       25   Fax: ( 877) 389-2775
            Email: Daniel@downtownlalaw.com
       26   Attorney for Plaintiff
            MONICA JUAREZ CERON
       27
            ///
       28          I am readily familiar with the firm’s practice of collection and processing correspondence
2354-9372
                                                             7
                    DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
                                                                                             EXHIBIT 3
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 19 of 27 Page ID #:19



        1   for mailing. Under that practice, it would be deposited with the United States Postal Service on
            that same day with postage thereon fully prepaid at San Diego, California, in the ordinary course
        2   of business. I am aware that service is presumed invalid if postal cancellation date or postage
            meter date is more than one day after the date of deposit for mailing in affidavit.
        3
                   I declare under penalty of perjury under the laws of the State of California that the
        4   foregoing is true and correct. Executed on March 9, 2021, at San Diego, California.

        5

        6                                                 Natalia Aguilera

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                     DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT
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         Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 20 of 27 Page ID #:20

Electronically FILED by Superior Court of California, County of Los Angeles on 03/09/2021 06:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk


               1         Bron E. D’Angelo, Esq., SBN 246819
                         PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
               2         5901 W. Century Blvd., Suite 1100
                         Los Angeles, CA 90045
               3         Telephone: (310) 649-5772
                         Facsimile: (310) 649-5777
               4         E-mail: bdangelo@pettitkohn.com

               5         Attorneys for Defendant
                         WALMART INC.
               6

               7

               8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9                                                FOR THE COUNTY OF LOS ANGELES
              10

              11         MONICA JUAREZ CERON, an individual.,                                      CASE NO.: 19STCV43563
              12                                           Plaintiff,
                                                                                                   DEFENDANT WALMART INC.’S JURY
              13                    v.                                                             DEMAND
              14         WALMART, INC., a Delaware corporation;
                         DEAN DOE, an individual; and DOES 1 to                                    Dept.:     2
              15         50, inclusive,                                                            Judge:     Hon. Kristin S. Escalante
                                                                                                   Filed:     December 4, 2019
              16                                           Defendants.                             Trial:     June 2, 2021
              17

              18       TO THE ABOVE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

              19                   Defendant WALMART INC. hereby demands a trial by jury in the above-titled matter.

              20                                                                            PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
              21

              22       Dated: March 9, 2021                                                 By:        ____________________________________
                                                                                                       Bron E. D’Angelo, Esq.
              23                                                                                       Attorneys for Defendant
                                                                                                       WALMART INC.
              24

              25

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    2354-9372
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                                                              DEFENDANT WALMART INC.’S JURY DEMAND
                                                                                                                                                EXHIBIT 4
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 21 of 27 Page ID #:21



        1                                      PROOF OF SERVICE
                                        Monica Juarez Ceron v. Walmart Inc.
        2                        Los Angeles Superior Court Case No. 19STCV43563

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        4          I am and was at the time of service of the papers herein, over the age of eighteen (18)
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        6          On March 9, 2021, I caused to be served the following documents:

        7          DEFENDANT WALMART INC.’S JURY DEMAND

        8   [ ]    BY FACSIMILE TRANSMISSION (Code Civ. Proc. §§ 1013(e)-(f)): From fax
                   number (858) 755-8504 to the fax numbers listed below. The facsimile machine I used
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                   I caused the machine to print a transmission record, a copy of which will be maintained
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       11   [X]    BY MAIL: By placing a copy thereof for delivery in a separate envelope addressed to
                   each addressee, respectively, as follows:
       12
                   [X]    BY FIRST-CLASS MAIL (Code Civ. Proc. §§ 1013(a)-(b))
       13          [ ]    BY OVERNIGHT DELIVERY (Code Civ. Proc. §§ 1013(c)-(d))
                   [ ]    BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED (Code Civ.
       14                 Proc. §§ 1013(a)-(b))

       15   [ X ] BY ELECTRONIC DELIVERY (Code Civ. Proc. § 1010.6 and Cal. Rules of Court,
                  rule 2.251): Based on Cal. Rules of Court Emergency Rule 12 (Covid), I caused such
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                  naguilera@pettitkohn.com. The file transmission was reported as complete and a copy of
       17         the Service Receipt will be maintained with the original document(s) in our office.

       18   [ ]    BY ELECTRONIC SERVICE (California Rule of Court 2.251): By submitting an
                   electronic version of the document(s) via file transfer protocol (FTP) to OneLegal Online
       19          Court Services through the upload feature at www.onelegal.com.

       20   [ ]    BY PERSONAL SERVICE: I caused the above-described document to be personally
                   served on the parties listed on the service list below at their designated business addresses
       21          pursuant to Code Civ. Proc. §1011.

       22   Daniel Azizi, Esq.
            DOWNTOWN LA LAW GROUP
       23   601 N. Vermont Ave.
            Los Angeles, CA 90004
       24   Tel: (213) 389-3765
            Fax: ( 877) 389-2775
       25   Email: Daniel@downtownlalaw.com
            Attorney for Plaintiff
       26   MONICA JUAREZ CERON

       27
            ///
       28          I am readily familiar with the firm’s practice of collection and processing correspondence
2354-9372
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                                     DEFENDANT WALMART INC.’S JURY DEMAND
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   Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 22 of 27 Page ID #:22



        1   for mailing. Under that practice, it would be deposited with the United States Postal Service on
            that same day with postage thereon fully prepaid at San Diego, California, in the ordinary course
        2   of business. I am aware that service is presumed invalid if postal cancellation date or postage
            meter date is more than one day after the date of deposit for mailing in affidavit.
        3
                   I declare under penalty of perjury under the laws of the State of California that the
        4   foregoing is true and correct. Executed on _March 9, 2021, at San Diego, California.

        5

        6                                                 Natalia Aguilera

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Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 23 of 27 Page ID #:23




 1    Daniel Azizi, Esq., SBN 268995
      John Rofael, Esq., SBN 282266
2     DOWNTOWN L.A. LAW GROUP
 3    601 N Vermont Ave
      Los Angeles, CA 90004
4     Tel.:(213) 389-3765
      Fax:(877)389-2775
 5    Email: J Rofael@downtown lalaw.com
 6
      Attorneys for Plaintiff
 7    MONICA JUAREZ CERON

 8                            SUPERIOR COURT OF CALIFORNIA
 9                                 COUNTY OF LOS ANGELES

10

11    MONICA JUAREZ CERON, an individual               Case No.: 19STCV43563

12                           Plaintiff,
                                                           STATEMENT OF DAMAGES
13
                V.
14
       WALMART,INC., a Delaware Corporation;
15
       DEAN DOE,an individual and Does 1 to 50,
16     inclusive.

 17
                             Defendants.
 18

 19

20

 21            Plaintiff, MONICA JUAREZ CERON,hereby provides to Defendants the following

 22             Statement

 23    of Damages:

 24          1. General Damages:            In excess of             $1,000,000.00

 25          2. Special Damages:            In excess of             $1,000,000.00

 26    /1/

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                                          STATEMENT OF DAMAGES
                                                                                     EXHIBIT 5
                                                                                            23
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         1           Plaintiff reserves the right to amend this Statement of Damages at a later time, as

         2     Discovery develops.

         3
         4     DATED: February 3,2021                      DOWNTOWN L.A. LAW GROUP

         5

         6
                                                                   Daniel Azizi, Esq.
         7                                                         John Rofael, Esq.
                                                                   Attorney for Plaintiff,
         8                                                         MONICA JUAREZ CERON
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                                                  STATEMENT OF DAMAGES
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Dr. Shirley N. Weber
California Secretary of State


            Business Search - Entity Detail

    The California Business Search is updated daily and reflects work processed through Tuesday, March 9, 2021. Please refer to document
    Processing Times for the received dates of filings currently being processed. The data provided is not a complete or certified record of an
    entity. Not all images are available online.

    C1634374           WALMART INC.
       Registration Date:                                                     02/03/1989
       Jurisdiction:                                                          DELAWARE
       Entity Type:                                                           FOREIGN STOCK
       Status:                                                                ACTIVE
       Agent for Service of Process:                                          C T CORPORATION SYSTEM (C0168406)
                                                                              To find the most current California registered Corporate Agent for
                                                                              Service of Process address and authorized employee(s)
                                                                              information, click the link above and then select the most current
                                                                              1505 Certificate.

       Entity Address:                                                        702 SW 8TH STREET
                                                                              BENTONVILLE AR 72716
       Entity Mailing Address:                                                702 SW 8TH STREET
                                                                              BENTONVILLE AR 72716

          Certificate of Status


    A Statement of Information is due EVERY year beginning five months before and through the end of February.


     Document Type                                       File Date           PDF

     SI-COMPLETE                                          09/28/2020


     FILING OFFICE STATEMENT                              09/25/2020


     SI-COMPLETE                                          09/15/2020


     PUBLICLY TRADED DISCLOSURE                           06/30/2020


     PUBLICLY TRADED DISCLOSURE                           07/05/2019


     PUBLICLY TRADED DISCLOSURE                           07/03/2018


     AMENDED REGISTRATION                                 12/14/2017


     PUBLICLY TRADED DISCLOSURE                           07/03/2017


     PUBLICLY TRADED DISCLOSURE                           08/17/2016


                                                                                                                         EXHIBIT 6
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          Case 2:21-cv-02168-PSG-AGR File
 Document Type
                                     Document
                                          Date
                                               1 Filed
                                                  PDF
                                                       03/10/21 Page 26 of 27 Page ID #:26
                                                                       

 PUBLICLY TRADED DISCLOSURE                             07/16/2015


 PUBLICLY TRADED DISCLOSURE                             07/01/2013


 PUBLICLY TRADED DISCLOSURE                             07/02/2012


 PUBLICLY TRADED DISCLOSURE                             06/28/2011


 PUBLICLY TRADED DISCLOSURE                             06/30/2010


 PUBLICLY TRADED DISCLOSURE                             09/04/2009


 PUBLICLY TRADED DISCLOSURE                             06/30/2008


 PUBLICLY TRADED DISCLOSURE                             06/07/2007


 PUBLICLY TRADED DISCLOSURE                             07/24/2006


 PUBLICLY TRADED DISCLOSURE                             06/29/2005


 PUBLICLY TRADED DISCLOSURE                             06/01/2004


 PUBLICLY TRADED DISCLOSURE                             12/09/2003           Image unavailable. Please request paper copy.

 REGISTRATION                                           02/03/1989



* Indicates the information is not contained in the California Secretary of State's database.

       If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to California
       Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
       For information on checking or reserving a name, refer to Name Availability.
       If the image is not available online, for information on ordering a copy refer to Information Requests.
       For information on ordering certificates, status reports, certified copies of documents and copies of documents not currently available in
       the Business Search or to request a more extensive search for records, refer to Information Requests.
       For help with searching an entity name, refer to Search Tips.
       For descriptions of the various fields and status types, refer to Frequently Asked Questions.

  Modify Search              New Search             Back to Search Results




                                                                                                                      EXHIBIT 6
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       Case 2:21-cv-02168-PSG-AGR Document 1 Filed 03/10/21 Page 27 of 27 Page ID #:27




Search Incorporations, Cooperatives, Banks and Insurance Companies
Printer Friendly Version
LLC Member information is now confidential per Act 865 of 2007

Use your browser's back button to return to the Search Results

Begin New Search
                           For service of process contact the Secretary of State's office.


                           Corporation Name                         WALMART INC.

                           Fictitious Names                         BUD'S DISCOUNT CITY
                                                                    BUD'S WAREHOUSE OUTLET
                                                                    BUD'S WAREHOUSE OUTLET
                                                                    FORT SMITH REMARKETING
                                                                    SAM'S CLUB
                                                                    SAM'S WHOLESALE CLUB
                                                                    WAL-MART
                                                                    WAL-MART AVIATION
                                                                    WAL-MART EXPRESS
                                                                    WAL-MART NEIGHBORHOOD MARKET
                                                                    WAL-MART NEIGHBORHOOD MARKET
                                                                    WAL-MART SUPERCENTER
                                                                    WAL-MART SUPERCENTER
                                                                    WAL-MART SUPERCENTER
                                                                    WAL-MART SUPERCENTER #1147
                                                                    WAL-MART SUPERCENTER #8
                                                                    WAL-MART VACATIONS
                                                                    WALTON LIFE FITNESS CENTER

                           Filing #                                 100067582

                           Filing Type                              Foreign For Profit Corporation

                           Filed under Act                          For Bus Corp; 958 of 1987

                           Status                                   Good Standing

                           Principal Address

                           Reg. Agent                               C T CORPORATION SYSTEM

                           Agent Address                            124 WEST CAPITOL AVENUE, SUITE 1900

                                                                    LITTLE ROCK, AR 72201

                           Date Filed                               03/31/1970

                           Officers                                 SEE FILE, Incorporator/Organizer
                                                                    RICKY YOUNG , Tax Preparer
                                                                    C DOUGLAS MCMILLON , President
                                                                    RACHEL BRAND , Secretary
                                                                    WAYNE HAMILTON , Vice-President
                                                                    AMANDA WHALEN , Treasurer
                                                                    DAVID CHOJNOWSKI , Controller

                           Foreign Name                             N/A

                           Foreign Address                          702 SW 8TH STREET
                                                                    BENTONVILLE, AR 72716

                           State of Origin                          DE


                           Purchase a Certificate of Good
                           Standing for this Entity




                                                                                                          EXHIBIT 7
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